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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In re:

Natalia Rose Nevin,
                                                                     Chapter 7

                  Debtor.                                            Bankruptcy No. 21-41171


                         NOTICE OF HEARING AND MOTION
                  FOR ORDER AUTHORIZING RULE 2004 EXAMINATION


To:      The debtor and other entities specified in Local Rule 9013-3.

1.       The United States Trustee (“UST”), through his undersigned attorney, Colin Kreuziger,

         gives notice of hearing and hereby moves the Court for authorization to conduct an

         examination pursuant to Fed. R. Bankr. P. 2004. The UST seeks authorization to examine

         Natalia Rose Nevin and Kevin Mark Nevin.

2.       A hearing will be held at 10:00 a.m. on Wednesday, December 8, 2021, before the United

         States Bankruptcy Court, Courtroom 8 West, 300 South 4th Street, Minneapolis, Minnesota

         55415.

3.       Any response to this motion must be filed and delivered not later than Friday, December

         3, 2021, which is five days before the time set for the hearing. UNLESS A RESPONSE

         OPPOSING THE MOTION IS TIMELY FILED, THE COURT MAY GRANT THE

         MOTION WITHOUT A HEARING.

4.       This case was commenced by the filing of a voluntary petition under Chapter 7 on June 29,

         2021. The case is currently pending in this Court. This Court has jurisdiction over this

         motion pursuant to 28 U.S.C. §§ 157 and 1334, Bankruptcy Rule 5005 and Local Rule

         1070-1. This proceeding is a core proceeding. This motion arises under Fed. R. Bankr.
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         P. 2004.

5.       The UST is reviewing the debtor’s financial circumstances to confirm whether the debtor

         accurately disclosed her assets, liabilities, income, and pre-petition transfers on her

         bankruptcy petition, schedules, and statement of financial affairs.     The debtor has

         provided a number of documents responsive to the UST’s informal discovery requests.

6.       Upon information and belief, the debtor was formerly employed by her father, Kevin Mark

         Nevin, as an investment broker. The debtor’s financial records show that she transferred

         $54,300 to Financial & Investment Advisors, Inc. between June 16, 2020 and her

         bankruptcy filing.    On information and belief, Mr. Nevin controlled Financial &

         Investment Advisors, Inc. The UST seeks to question Mr. Nevin and Ms. Nevin about

         these transactions and their business dealings.

         WHEREFORE, the United States Trustee requests that the Court enter an order approving

the examination, pursuant to Fed. R. Bankr. P. 2004, of Natalia Rose Nevin and Kevin Mark Nevin.



Dated: November 22, 2021                               JAMES L. SNYDER
                                                       ACTING UNITED STATES TRUSTEE
                                                       REGION 12

                                                       /e/ Colin Kreuziger
                                                       Colin Kreuziger
                                                       Trial Attorney
                                                       MN Atty No. 0386834
                                                       Office of U.S. Trustee
                                                       1015 U.S. Courthouse
                                                       300 South Fourth Street
                                                       Minneapolis, MN 55415
                                                       (612) 334-1350




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                                       VERIFICATION

        I, Colin Kreuziger, trial attorney for the United States Trustee, the movant named in the
foregoing motion, declare under penalty of perjury that the foregoing is true and correct according
to the best of my knowledge, information, and belief.


Executed on November 22, 2021
                                                                    /e/ Colin Kreuziger
                                                                    Colin Kreuziger
                                                                    Trial Attorney
                                                                    MN Atty No. 0386834
                                                                    Office of U.S. Trustee
                                                                    1015 U.S. Courthouse
                                                                    300 South Fourth Street
                                                                    Minneapolis, MN 55415
                                                                    (612) 334-1350
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:

Natalia Rose Nevin,
                                                                    Chapter 7

                Debtor.                                             Bankruptcy No. 21-41171


                                  MEMORANDUM OF LAW


         The facts are as stated in the attached motion. Fed. R. Bankr. P. 2004(a) provides: “On

motion of any party in interest, the court may order the examination of any entity.” The Rule

continues: The examination of an entity under this rule . . . may relate only to the acts, conduct,

or property or to the liabilities and financial condition of the debtor, or to any matter which may

affect the administration of the debtor’s estate, or to the debtor’s right to a discharge.” Fed. R.

Bankr. P. 2004(b).     As stated above, the United States Trustee believes that a Rule 2004

examination of the debtor and Kevin Mark Nevin is appropriate in this matter to obtain information

regarding the debtor’s financial affairs. Both Mr. Nevin and the debtor have information about

the debtor’s financial affairs.    Accordingly, the Court should grant the motion for order

authorizing Rule 2004 examination.

Dated: November 22, 2021                             JAMES L. SNYDER
                                                     ACTING UNITED STATES TRUSTEE
                                                     REGION 12

                                                     /e/ Colin Kreuziger
                                                     Colin Kreuziger
                                                     Trial Attorney
                                                     MN Atty No. 0386834
                                                     Office of U.S. Trustee
                                                     1015 U.S. Courthouse
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:

Natalia Rose Nevin,
                                                                     Chapter 7

                Debtor.                                              Bankruptcy No. 21-41171


                          UNSWORN CERTIFICATE OF SERVICE


         The undersigned states under penalty of perjury that on November 22, 2021, he

electronically filed the Notice of Motion and Motion for Order Authorizing Rule 2004

Examination, Verification, Memorandum of Law, and proposed Order, thereby generating

electronic service upon all entities registered as CM/ECF users in this case. He also arranged for

service of the following individuals or entities by first class mail postage prepaid to the addresses

listed below:

Addressee(s):
Natalia Rose Nevin
817 West 57th Street
Minneapolis, MN 55419

Kevin Mark Nevin
500 E Grant Street
#408
Minneapolis, MN 55404

Kevin Mark Nevin
5201 Eden Avenue, Suite 300
Minneapolis, MN 55436



Dated:    November 22, 2021                           /e/ Colin Kreuziger
                                                      Colin Kreuziger
                                                      Office of the United States Trustee
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:

Natalia Rose Nevin,
                                                                    Chapter 7

                Debtor.                                             Bankruptcy No. 21-41171


                                             ORDER


         The United States Trustee’s Notice of Hearing and Motion for Order Authorizing Rule

2004 Examination came before the Court. Upon the motion, and upon any additional record

made,

         IT IS ORDERED:

1.       Counsel for the United States Trustee is authorized to examine Natalia Rose Nevin.

2.       Counsel for the United States Trustee is authorized to examine Kevin Mark Nevin.

3.       To give notice of the date and time of the examination, and to compel the attendance of

         the examinee and/or the production of documents in connection with the examination,

         counsel for the United States Trustee shall comply with Fed. R. Bankr. P. 2004.




Dated:
                                                     Kathleen H. Sanberg
                                                     United States Bankruptcy Judge
